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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.        EDCV 20-2001-JAK (JEM)                                    Date     November 5, 2020
 Title           Jamal R. Beasley v. Peter D’Andrea, et al.




 Present: The Honorable            John E. McDermott, United States Magistrate Judge
                    S. Lorenzo
                   Deputy Clerk                                    Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                        None                                                 None
 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                         LACK OF PROSECUTION

       Plaintiff is ordered to show cause in writing no later than November 20, 2020, why this
action should not be dismissed for lack of prosecution based on Plaintiff’s failure to provide the
Court with a summons, which must be issued by the Clerk in order to effectuate service.

       The Court will consider the following to be an appropriate response to this OSC, on or
before the above date:

         3      Plaintiff shall provide the Court with a summons to be issued by the Clerk; or

         3      Plaintiff shall file a written explanation of why he has failed to provide the Court
                with a summons

       In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15,
no oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of the response to the Order to Show Cause. Failure to respond to
the Court’s Order may result in the dismissal of the action.


cc: Parties

                                                                                           :
                                                    Initials of Preparer                 slo




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